          Case: 1:24-cr-00522 Document #: 5-1 Filed: 02/19/25 Page 1 of 2 PageID #:15

                                      United States District Court
                                      Northern District of Illinois

In the Matter of

 United States of America
                         v.                                                     Case No. 24-CR-522
                                                                               Designated Magistrate Judge
 Jose Angel Canobbio Inzunza                                                         Daniel P. McLaughlin



                   TRANSFER OF CASE TO THE EXECUTIVE COMMITTEE
                                FOR A REASSIGNMENT

    The above captioned case is currently pending on my calendar. I request the Executive
Committee that this case be reassigned to the calendar of Judge *Fugitive Calendar. The reason
for my request are indicated on the bottom of this form.




                                                       ________________________________
                                                                    Judge Martha Pacold

Date: Wednesday, February 19, 2025



Reason(s) For Recommendation:

- IOP 13(b)(1) This case should be transferred to the Fugitive Calendar as the defendant is fugitive.




Dated:Wednesday, February 19, 2025
District Reassignment - Named Judge
          Case: 1:24-cr-00522 Document #: 5-1 Filed: 02/19/25 Page 2 of 2 PageID #:16




EXCEPTIONS OR ADDITIONS:




District Reassignment - Named Judge
